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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND


 RHODE ISLAND LATINO ARTS, et al.,

            Plaintiffs,

    v.                                                                Civil Action
                                                                No. 24-cv-79-WES-PAS
 NATIONAL ENDOWMENT FOR THE
 ARTS, et al.,

            Defendants.


            DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
                   FIRST SET OF REQUESTS FOR ADMISSION
         Under Federal Rules of Civil Procedure 26 and 36 and to comply with the Court’s June 4,

 2025, text order, Defendants National Endowment for the Arts and its Senior Advisor Mary

 Anne Carter (collectively, the “NEA,” unless otherwise specified herein) hereby object and re-

 spond to Plaintiffs’ First Set of Requests for Admission.

                                             Objections

         The NEA provides its responses subject to three objections. First, the NEA incorporates

 and preserves its objections to Plaintiffs’ requests on the grounds cited in its motion for a protec-

 tive order (ECF 17), but responds in full to the requests as the Court ordered on June 4, 2025.

 Second, the NEA construes Plaintiffs’ requests as seeking admissions only concerning its Grants

 for Arts Projects, the sole NEA program at issue in this case. Third, the NEA objects to the

 Plaintiffs’ Definitions, Instructions, and requests to the extent that they seek disclosures exceed-

 ing the NEA’s obligations under the Federal Rules of Civil Procedure.

                                              Responses

 REQUEST FOR ADMISSION No. 1: Admit that the NEA’s or Chair’s conclusion that a pro-
 posed project “promotes gender ideology” will disqualify the project from receiving an NEA
 grant.
 Response: Denied. As stated in the NEA’s Final Notice of Implementation of Executive Order

 14168, dated April 16, 2025, the NEA will not consider a project’s potential promotion of gender




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 ideology in evaluating whether the project is eligible for grant funding. The Chair will consider

 all applicable factors in evaluating a proposed project, and will not disqualify a project from con-

 sideration solely on her conclusion that a proposed project “promotes gender ideology.”

 REQUEST FOR ADMISSION No. 2: If your answer to Request for Admission No. 1 is any-
 thing other than an unqualified admission, admit that the NEA’s or Chair’s conclusion that a pro-
 posed project “promotes gender ideology” will make it less likely that the project will receive an
 NEA grant.
 Response: Admitted only as follows. In evaluating a proposed project, the NEA will consider all

 applicable factors set forth under the NEA’s enabling statute (including, in particular, 20 USC §§

 954(c) & (d)), other governing law, and according to agency practices. If the NEA Chair

 concludes that a proposed project “promotes gender ideology,” that factor could weigh against

 the project’s final approval. The fact that a proposed project “promotes gender ideology,”
 standing alone, will not mean that project will not receive approval. No proposed project will be

 denied solely on the basis that it “promotes gender ideology.”

 REQUEST FOR ADMISSION No. 3: If your answer to Request for Admission No. 2 is any-
 thing other than an unqualified admission, admit that the NEA’s or Chair’s conclusion that a pro-
 posed project “promotes gender ideology” will make no difference as to whether the project will
 receive an NEA grant.
 Response: Denied, only as follows. The Chair will consider all applicable factors in evaluating a

 proposed project, and whether a proposed project “promotes gender ideology” may be a factor as

 described in the NEA’s Final Notice of Implementation of Executive Order 14168, dated April

 16, 2025, at 6, § III.


 I declare that the foregoing responses are
 true to the best of my knowledge and belief.      As to the objections,

 /s/                                               /s/ Kevin Bolan
 MARY ANNE CARTER                                  KEVIN BOLAN
 Senior Advisor                                    Assistant U.S. Attorney
 National Endowment for the Arts




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 Dated: June 11, 2025                             Respectfully submitted,

                                                  NATIONAL ENDOWMENT FOR THE ARTS;
                                                  MARY ANNE CARTER, in her official capac-
                                                  ity as Senior Advisor of the National Endow-
                                                  ment for the Arts,

                                                  By their Attorneys

                                                  SARA MIRON BLOOM
                                                  Acting United States Attorney

                                                  /s/ Kevin Bolan
                                                  KEVIN BOLAN
                                                  Assistant United States Attorney
                                                  One Financial Plaza, 17th Floor
                                                  Providence, RI 02903
                                                  (401) 709-5000
                                                  kevin.bolan@usdoj.gov

                                 CERTIFICATE OF SERVICE

        I certify that on June 11, 2025, I filed this document and its attachments through the
 Court’s ECF system, thereby electronically serving all parties of record in this action.

                                                  /s/ Kevin Bolan
                                                  KEVIN BOLAN
                                                  Assistant United States Attorney




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